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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
CLARETTA EDWARDS,        *
                         *                         No. 19-338V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: August 21, 2020
                         *
SECRETARY OF HEALTH      *                         Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,      *                         shoulder injury related to vaccine
                         *                         administration (“SIRVA”)
             Respondent. *
******************** *

Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for Petitioner;
Camille M. Collett, United States Dep’t of Justice, Washington, DC, for
Respondent.

                             UNPUBLISHED DECISION1

       On August 19, 2020, the parties filed a joint stipulation concerning the
petition for compensation filed by Claretta Edwards on March 5, 2019. Petitioner
alleged that the influenza vaccine she received on October 3, 2017, which is
contained in the Vaccine Injury Table, 42 C.F.R. §100.3(a), caused her to suffer
from a shoulder injury related to vaccination administration (“SIRVA”). Petitioner
further alleges that she suffered the residual effects of this injury for more than six
months. Petitioner represents that there has been no prior award or settlement of a
civil action for damages on her behalf as a result of her condition.

      Respondent denies that the influenza vaccine caused petitioner to suffer
from a SIRVA Table injury or any other injury.

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         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $30,000.00 in the form of a check payable to
       petitioner. This amount represents compensation for all damages that
       would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 19-338V according to this decision
and the attached stipulation.2

       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




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          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
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                            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                      OFFICE OF SPECIAL MASTERS


          CLARETTA EDWARDS,

                                     Petitioner,

          v.                                                      No. 19-338V
                                                                  Special Master Christian J. Moran
          SECRETARY OF HEALTH AND                                 ECF
          HUMAN SERVICES,

                                    Respondent.



                                                      STIPULATION


                  The parties hereby stipulate to the following matters:

                  1. Petimner filed a petition for vaccine compensation WKler the National Vaccine Injury

          Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine Program"). The petition

          seeks compensation for injuries allegedly related to petitioner's receipt of the influenza (''flu")

          vaccine, which vaccine is contained in the Vaccine Injury Table (the '7able"), 42 C.F.R.

          § 100.3(a).

                  2. Petitioner received the flu vaccination on or about October 3, 2017.

                  3. The vaccine was administered within the United States.

                  4. Petitioner alleges that she sustained a shoulder iqjury related to vaccine administration

          (SIRVA), as defined in the Table, and further alleges that she suffered the residual effects of tlm

          alleged injury for more than six months.

                 5. Petitioner represents that there has been no prior award or settlement of a civil action

          for damages as a result of her condition.



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            6. Respondent denies that petitioner sustained a SIRVA Table injury, and further denies

that the flu vaccine caused any other injury or condition.

            7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of tlm Stipulation.

            8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

            A hnnp sum of $30,000.00 in the form of a check payable to petitioner. This
            amount represents compensation for all damages that would be available under 42
            U.S.C. §300aa-15(a).

            9. As soon as practicable after the entry of judgment on entitlement in tlm case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

            10. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.




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               11. Payment made pursuant to paragraph 8      or lhis Stipulation,   and any amount awarJed

       pursuant to paragraph 9, will be made in accordance with 42 U.S.C. § 300aa-15W, subject to the

       availability of sufficient statuto1y funds.

               12. The parties and their attorneys further agree and stipulate that, except for any award

       for attorney's fees and litigation costs, and past Wll'cimbursable expenses, the money provided

       pursuant to this Stipulation will he used solely for the benefit of petitioner as contemplated by a

       strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

       § 300aa-15(g) and (h}.

               13. In return for the payment described in paragraph 8, and any amount awarded

       pursuant to paragraph 9, petitioner, in her individual capacity, and on behalf of her heirs,

       executors, administrators, successors and/or assigns, does forever irrevocably and

       unconditionally release, acquit and discharge the United States and the Secretary of Health and

       Human Services from any and all actions or causes of action (including agreements, judgments,

       claims, damages, loss of services, expenses and all demands of whatever ~d.or nature) that

       have been brought, could have been brought, or could be timely brought in the Court of Federal

       Claims, under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 et seq.,

       on account of, or in any way growing out of, any and all known or unknown, suspected or

       unsuspected personal iqjuries to or death of petitioner resulting from, or alleged to have resulted

       from, the flu vaccine administered on or about October 3, 2017, as alleged by petitioner in a

       petition for vaccine compensation filed on or about March 5, 2019, in the United States Court of

       Federal Claims as petition No. 19-338V.

              14. If petitioner should die prior to entry of judgmen~ this agreement shall be voidable

       upon proper notice to the Court on behalf of either or both of the parties.




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        15. If the special master fails to issue a decision in complete conformity with the tenns

of this StipuJation or if the Court of Federal Claims fails to enter judgment in confonnity with a

decision that is in complete confonnity with the tenns of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged shoulder

injury or any other injury or condition.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                     END OF STIPULATION

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Respectfully submitted,

PETITIONER:


 &~ Edmank
CLARETIA EDWARDS


ATTORNEY OF RECORD FOR                             AUTHORIZED REPRSENTATIVE
PETITIONER:                                        OF HE ATTORNEY GENERAL:



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